Case 1:11-cv-02870-AT-JCF Document 329 Filed 11/15/16 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SANG LAN,
Plaintiff,

-against-

TIME WARNER, INC., KAO-SUNG LIU A/K/A K.S.

LIU, GINA HIU-HUNG LIU A/K/A HUI-HUNG SIE
A/K/A GINA LIU, Individually and as Trustees or
Managers of Goodwill for Sang Lan Fund, HUGH HU
MO, JOHN AND JANE DOES 1-30, Unknown
Defendants, Jointly and Severally,

Defendants.

ANALISA TORRES, District Judge:

USDC SDNY
DOCUMENT
ELECTRONICALLY FILED
DOC #:

DATE FILED: _{{ /\5I/(

11 Civ. 2870 (AT) (JCF)

ORDER

Having received no objections to Magistrate Judge James C. Francis’ October 18, 2016
report and recommendation, the Court reviewed the recommendation and found no “clear error
on the face of the record.” Walker v. Vaughn, 216 F. Supp. 2d 290, 292 (S.D.N.Y. 2002)
(quoting Urena v. New York, 160 F. Supp. 2d 606, 609-10 (S.D.N.Y. 2001)) (internal quotation
marks omitted). Judge Francis recommends that the Court grant Plaintiff's motion to voluntarily
dismiss this action with prejudice pursuant to Rule 41 of the Federal Rules of Civil Procedure.
Additionally, Judge Francis gave Defendant Mo fourteen days from the date of the report and
recommendation to renew the relevant portions of the third motion for Rule 11 sanctions. Mo

did not renew the request for Rule 11 sanctions.

The Court accepts and adopts the thorough and well-reasoned report and
recommendation. Accordingly, Plaintiff's Rule 41 motion for dismissal with prejudice is

GRANTED.

The Clerk of Court is directed to close the case.

SO ORDERED.

Dated: November 15, 2016
New York, New York

Co

ANALISA TORRES

United States District Judge

